                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE


In re:                                                                                         Chapter 11

CENTER CITY HEALTHCARE, LLC d/b/a                                                              Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et
al.,1
                                                                                               (Jointly Administered)
                                 Debtors.


                                                      AFFIDAVIT OF SERVICE

            I, Randy Lowry, am employed in the county of Los Angeles, State of California. I hereby certify
    that on November 7, 2023, at my direction and under my supervision, employees of Omni Agent
    Solutions, Inc. caused true and correct copies of the following documents to be served (i) via e-mail to the
    parties listed on Exhibit A attached hereto:

             Chapter 11 Monthly Operating Report for the Month Ending: 08/31/2023 [Docket No. 4949]

             Chapter 11 Monthly Operating Report for Case Number 19-11467 (Philadelphia Academic
              Health System, L.L.C.) for the Month Ending: 08/31/2023 [Docket No. 4950]

             Chapter 11 Monthly Operating Report for Case Number 19-11468 (St. Christopher's
              Healthcare, L.L.C.) for the Month Ending: 08/31/2023 [Docket No. 4951]

             Chapter 11 Monthly Operating Report for Case Number 19-11469 (Philadelphia Academic
              Medical Associates, L.L.C.) for the Month Ending: 08/31/2023 [Docket No. 4952]

             Chapter 11 Monthly Operating Report for Case Number 19-11470 (HPS of PA, L.L.C.) for
              the Month Ending: 08/31/2023 [Docket No. 4953]

             Chapter 11 Monthly Operating Report for Case Number 19-11471 (SCHC Pediatric
              Associates, L.L.C.) for the Month Ending: 08/31/2023 [Docket No. 4954]

             Chapter 11 Monthly Operating Report for Case Number 19-11472 (St. Christopher's
              Pediatric Urgent Care Center, L.L.C.) for the Month Ending: 08/31/2023 [Docket No. 4955]

             Chapter 11 Monthly Operating Report for Case Number 19-11473 (SCHC Pediatric
              Anesthesia Associates, L.L.C.) for the Month Ending: 08/31/2023 [Docket No. 4956]

             Chapter 11 Monthly Operating Report for Case Number 19-11475 (TPS of PA, L.L.C.) for
              the Month Ending: 08/31/2023 [Docket No. 4958]



1   The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are: Center City Healthcare,
    LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical
    Associates, LLC (8165), HPS of PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
    Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of
    PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C.
    (5540). The Debtors’ mailing address is 216 N Broad Street, Philadelphia, Pennsylvania 19102.
EXHIBIT A
Center City Healthcare, LLC, et al. - Service List to e-mail Recipients                                                 Served 11/7/2023

FOX ROTHSCHILD LLP                                 OFFICE OF THE UNITED STATES TRUSTEE       SILLS CUMMIS & GROSS P.C
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                                                                                         Parties Served: 4




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